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 Attorneys for Trustee

                           UNITED STATES BANKRUPTCY COURT

                                      DISTRICT OF IDAHO

In re:                                              Case No. 20-20081-NGH

   IDC ENTERPRISES, INC.,                           Chapter 7

                    Debtor.


                   MOTION FOR PRELIMINARY INJUNCTIVE RELIEF

         The Trustee, Patrick J. Geile (“Geile” or the “Trustee”), by and through his attorneys of

 record, ANGSTMAN JOHNSON, moves this Court for an order entering an injunction restraining

 IDC Enterprises, Inc. (the “Debtor”), along with non-debtor entities IDC Equipment, LLC, and

 IDC Land, LLC, and non-debtor individual Jason Lunders who is the sole owner of all three

 entities, from selling, disposing, encumbering or otherwise transferring or causing the transfer of

 any assets or property until the pending Motion to Consolidate (Dkt. No. 183) is finally resolved

 by this Court.

         This motion is made pursuant to 11 U.S.C. § 105 and Rule 65 of the Federal Rules of Civil

 Procedure and is supported by the concurrently filed Memorandum in Support of Motion for

 Preliminary Injunctive Relief, which is incorporated here by reference.




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         NOTICE OF INTENT TO PRESENT EVIDENCE AND/OR WITNESSES


        The Trustee provides notice, pursuant to Local Bankr. R. 9014.1 of its intent to present

 evidence through witnesses and/or documents at any hearing on this Motion.


        DATED this 7th day of October, 2021.



                                                  /s/ Matt Christensen
                                           MATTHEW T. CHRISTENSEN
                                           Attorneys for Trustee




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                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 7th day of October, 2021, I filed the foregoing MOTION
 FOR PRELIMINARY INJUNCTIVE RELIEF electronically through the CM/ECF system, which
 caused the following parties to be served by electronic means, as more fully reflected on the Notice
 of Electronic Filing:


        Robert P. Blasco                              rpblasco@hoffmanblasco.com
        Brett R. Cahoon                               ustp.region18.bs.ecf@usdoj.gov
        Matthew T. Christensen                        mtc@angstman.com
        D. Blair Clark                                dbc@dbclarklaw.com
        Megan J Costello                              mjcostello@hoffmanblasco.com
        Patrick John Geile                            pgeile@foleyfreeman.com
        David Wayne Newman                            david.w.newman@usdoj.gov
        Randall A. Peterman                           rap@givenspursley.com
        Gary L Rainsdon                               trustee@filertel.com
        Sheila Rae Schwager                           sschwager@hawleytroxell.com
        US Trustee                                    ustp.region18.bs.ecf@usdoj.gov


        Any others as listed on the Court’s ECF Notice.

       AND I FURTHER CERTIFY that on such date I served the foregoing on the following
 non-CM/ECF Registered Participants via first class mail, postage prepaid, addressed as follows:

         Corbett Auctions & Appraisals                 IDC Enterprises, Inc.
         Corbett Auctions & Appraisals Inc.            450 White Bird Street
         PO Box 191261                                 Grangeville, ID 83530
         Boise, ID 83719

         McKenna Thompson                              IDC Land, LLC
         Ripley Doorn & Company PLLC                   450 White Bird Street
         1140 S. Allante Avenue                        Grangeville, ID 83530
         Boise, ID 83709
                                                       Jason D. Lunders
                                                       450 White Bird Street
                                                       Grangeville, ID 83530-6005



                                                        /s/ Matt Christensen
                                                  Matthew T. Christensen




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